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Attorneys for Plaintiff
UNITED STATES OF AMERICA
UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, NO. SA C

Plaintiff, PLEA AGREEMENT FOR DEFENDANT
MICHAEL D. DROBOT

 

 

V.
MICHAEL D. DROBOT,

Defendant.

 

 

l. This constitutes the plea agreement between MICHAEL D.
DROBOT (“defendant”) and the United States Attorney’s Office for the
Central District of California (“the USAO”) in the above-captioned
case. This agreement is limited to the USAO and cannot bind any
other federal, state, local, or foreign prosecuting, enforcement,

administrative, or regulatory authorities.

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DEFENDANT'S OBLIGATIONS

 

2. Defendant agrees to:

a) Give up the right to indictment by a grand jury and,
at the earliest opportunity requested by the USAO and provided by
the Court, appear and plead guilty to a two-count criminal
Information in the form attached to this agreement as Exhibit A or a
substantially similar form, which charges defendant with Conspiracy
in violation of 18 U.S.C. § 371, and Payment of Kickbacks in
Connection with a Federal Health Care Program in violation of 42
U.S.C. § l320a-7b(b)(2)(A).

b) Not contest facts agreed to in this agreement.

c) Abide by all agreements regarding sentencing
contained in this agreement.

d) Appear for all court appearances, surrender as
ordered for service of sentence, obey all conditions of any bond,
and obey any other ongoing court order in this matter.

e) Not commit any crime; however, offenses that would be
excluded for sentencing purposes under United States Sentencing
Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are
not within the scope of this agreement.

f) Be truthful at all times with Pretrial Services, the
United States Probation Office, and the Court,

g) Pay the applicable special assessments at or before
the time of sentencing unless defendant lacks the ability to pay and
prior to sentencing submits a completed financial statement on a
form to be provided by the USAO.

3. Defendant further agrees:

 

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a) Truthfully to disclose to law enforcement officials,
at a date and time to be set by the USAO, the location of,
defendant's ownership interest in, and all other information known
to defendant about, all monies, properties, and/or assets of any
kind, derived from or acquired as a result of, or used to facilitate
the commission of, defendant's illegal activities, and to forfeit
all right, title, and interest in and to such items.

b) To the Court's entry of an order of forfeiture at or
before sentencing with respect to these assets and to the forfeiture
of the assets.

c) To take whatever steps are necessary to pass to the
United States clear title to the assets described above, including,
without limitation, the execution of a consent decree of forfeiture
and the completing of any other legal documents required for the
transfer of title to the United States.

d) Not to contest any administrative forfeiture
proceedings or civil judicial proceedings commenced by the United
States of America against these properties.

e) Not to assist any other individual in any effort
falsely to contest the forfeiture of the assets described above.

f) Not to claim that reasonable cause to seize the
assets was lacking.

g) To prevent the transfer, sale, destruction, or loss
of any and all assets described above to the extent defendant has

the ability to do so.

h) To fill out and deliver to the USAO a completed
financial statement listing defendant's assets on a form provided by

the USAO.

 

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4. Defendant further agrees to cooperate fully with the USAO,
the Federal Bureau of Investigation, the United States Postal
Service - Office of Inspector General, the Internal Revenue Service,
and, as directed by the USAO, any other federal, state, local, or
foreign prosecuting, enforcement, administrative, or regulatory
authority. This cooperation requires defendant to:

a) Respond truthfully and completely to all questions
that may be put to defendant, whether in interviews, before a grand
jury, or at any trial or other court proceeding.

b) Attend all meetings, grand jury sessions, trials or
other proceedings at which defendant's presence is requested by the
USAO or compelled by subpoena or court order.

c) Produce voluntarily all documents, records, or other
tangible evidence relating to matters about which the USAO, or its
designee, inquires.

5. For purposes of this agreement: (1) ”Cooperation
Information” shall mean any statements made, or documents, records,
tangible evidence, or other information provided, by defendant
pursuant to defendant's cooperation under this agreement; and
(2) ”Plea Information” shall mean any statements made by defendant,
under oath, at the guilty plea hearing and the agreed to factual
basis statement in this agreement.

THE USAO'S OBLIGATIONS

6. The USAO agrees to:
a) Not contest facts agreed to in this agreement.
b) Abide by all agreements regarding sentencing

contained in this agreement.

 

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c) At the time of sentencing, provided that defendant
demonstrates an acceptance of responsibility for the offense up to
and including the time of sentencing, recommend a two-level
reduction in the applicable Sentencing Guidelines offense level,
pursuant to U.S.S.G. § 3E1.1, and recommend and, if necessary, move
for an additional one-level reduction if available under that
section.

d) Recommend that defendant be sentenced to a term of
imprisonment no higher than the low end of the applicable Sentencing
Guidelines range, provided that the offense level used by the Court
to determine that range is 35 and provided that the Court does not
depart downward in criminal history category. For purposes of this
agreement, the low end of the Sentencing Guidelines range is that
defined by the Sentencing Table in U.S.S.G. Chapter 5, Part A ,
without regard to reductions in the term of imprisonment that may be
permissible through the substitution of community confinement or
home detention as a result of the offense level falling within Zone
B or Zone C of the Sentencing Table.

e) Except for criminal tax violations (including
conspiracy to commit such violations chargeable under 18 U.S.C.

§ 371), not further criminally prosecute defendant for violations
arising out of defendant's conduct described in the agreed-to
factual basis set forth in paragraph 21 below. Defendant
understands that the USAO is free to criminally prosecute defendant
for any other unlawful past conduct or any unlawful conduct that
occurs after the date of this agreement. Defendant agrees that at
the time of sentencing the Court may consider the uncharged conduct

in determining the applicable Sentencing Guidelines range, the

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propriety and extent of any departure from that range, and the

sentence to be imposed after consideration of the Sentencing

Guidelines and all other relevant factors under 18 U.S.C. § 3553(a).
7. The USAO further agrees:

a) Not to offer as evidence in its case-in-chief in the
above-captioned case or any other criminal prosecution that may be
brought against defendant by the USAO, or in connection with any
sentencing proceeding in any criminal case that may be brought
against defendant by the USAO, any Cooperation Information.
Defendant agrees, however, that the USAO may use both Cooperation
Information and Plea Information: (1) to obtain and pursue leads to
other evidence, which evidence may be used for any purpose,
including any criminal prosecution of defendant; (2) to cross-
examine defendant should defendant testify, or to rebut any evidence
offered, or argument or representation made, by defendant,
defendant's counsel, or a witness called by defendant in any trial,
sentencing hearing, or other court proceeding; and (3) in any
criminal prosecution of defendant for false statement, obstruction
of justice, or perjury.

b) Not to use Cooperation Information against defendant
at sentencing for the purpose of determining the applicable
guideline range, including the appropriateness of an upward
departure, or the sentence to be imposed, and to recommend to the
Court that Cooperation Information not be used in determining the
applicable guideline range or the sentence to be imposed, Defendant
understands, however, that Cooperation Information will be disclosed

to the probation office and the Court, and that the Court may use

 

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Cooperation Information for the purposes set forth in U.S.S.G
§ 1B1.8(b) and for determining the sentence to be imposed.

c) In connection with defendant's sentencing, to bring
to the Court's attention the nature and extent of defendant's
cooperation.

d) If the USAO determines, in its exclusive judgment,
that defendant has both complied with defendant's obligations under
paragraphs 2 through 4 above and provided substantial assistance to
law enforcement in the prosecution or investigation of another
(“substantial assistance”), to move the Court pursuant to U.S.S.G.
§ 5K1.1, to fix an offense level and corresponding guideline range
below that otherwise dictated by the sentencing guidelines, and to
recommend a term of imprisonment within this reduced range.

DEFENDANT’S UNDERSTANDINGS REGARDING COOPERATION

8. Defendant understands the following:

a) Any knowingly false or misleading statement by
defendant will subject defendant to prosecution for false statement,
obstruction of justice, and perjury and will constitute a breach by
defendant of this agreement.

b) Nothing in this agreement requires the USAO or any
other prosecuting, enforcement, administrative, or regulatory
authority to accept any cooperation or assistance that defendant may
offer, or to use it in any particular way.

c) Defendant cannot withdraw defendant's guilty plea if
the USAO does not make a motion pursuant to U.S.S.G. § 5K1.1 for a
reduced guideline range or if the USAO makes such a motion and the
Court does not grant it or if the Court grants such a USAO motion

but elects to sentence above the reduced range.

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d) At this time the USAO makes no agreement or
representation as to whether any cooperation that defendant has
provided or intends to provide constitutes or will constitute
substantial assistance. The decision whether defendant has provided
substantial assistance will rest solely within the exclusive
judgment of the USAO.

e) The USAO's determination whether defendant has
provided substantial assistance will not depend in any way on
whether the government prevails at any trial or court hearing in
which defendant testifies or in which the government otherwise
presents information resulting from defendant's cooperation.

NATURE OF THE OFFENSE

9. Defendant understands that for defendant to be guilty of
the crime charged in count one of the Information, that is,
Conspiracy, in violation of Title 18, United States Code, Section
371, the following must be true: (1) Beginning in or around 1998
and continuing through in or around November 2013, there was an
agreement between two or more persons to commit a violation of Title
18, United States Code, Sections 1341 and 1346 (Mail Fraud and
Honest Services Mail Fraud); Title 18, United States Code, Section
1952(a)(3) (Interstate Travel in Aid of a Racketeering Enterprise);
Title 18, United States Code, Section 1957 (Monetary Transactions in
Property Derived from Specified Unlawful Activity); and Title 42,
United States Code, Section 1320a-7b(b)(2)(A) (Payment or Receipt of
Kickbacks in Connection with a Federal Health Care Program); (2)
defendant became a member of the conspiracy knowing of at least one

of its objects and intending to help accomplish it; and (3) one of

 

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the members of the conspiracy performed at least one overt act for
the purpose of carrying out the conspiracy.

10. Defendant understands that Mail Fraud, in violation of
Title 18, United States Code, Section 1341, has the following
elements: (1) the defendant knowingly devised or participated in a
scheme or plan to defraud, or a scheme or plan for obtaining money
or property by means of false or fraudulent pretenses,
representations or promises; (2) the statements made or facts
omitted as part of the scheme were material, that is, they had a
natural tendency to influence, or were capable of influencing, a
person to part with money or property; (3) the defendant acted with
the intent to defraud; and (4) the defendant used, or caused to be
used, the mails to carry out or attempt to carry out an essential
part of the scheme. Defendant further understands that Honest
Services Mail Fraud, in violation of Title 18, United States Code,
Section 1346, has the following elements: (1) the defendant devised
or participated in a scheme or plan to deprive a patient of his or
her right to honest services; (2) the scheme or plan consisted of a
bribe or kickback in exchange for medical services; (3) a medical
professional person owed a fiduciary duty to the patient; (4) the
defendant acted with the intent to defraud by depriving the patient
of his or her right of honest services; (5) the defendant's act was
material, that is, it had a natural tendency to influence, or was
capable of influencing, a person's acts; and (6) the defendant used,
or caused someone to use, the mails to carry out or attempt to carry
out the scheme or plan.

11. Defendant understands that Interstate Travel in Aid of a

Racketeering Enterprise, in violation of Title 18, United States

 

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Code, Section 1952(a)(3), has the following elements: (1) defendant
used the mail or a facility of interstate commerce with the intent
to promote, manage, establish, or carry on, or facilitate the
promotion, management, establishment, or carrying on, of unlawful
activity, specifically payment and receipt of kickbacks in violation
of California Business & Professions Code § 650, California
Insurance Code § 750, and California Labor Code § 3215; and (2)
after doing so, defendant performed or attempted to perform an act
to promote, manage, establish, or carry on, or facilitate the
promotion, management, establishment, or carrying on, of such
unlawful activity,

12. Defendant understands that Money Laundering, in violation
of Title 18, United States Code, Section 1957, has the following
elements: (1) the defendant knowingly engaged or attempted to
engage in a monetary transaction; (2) the defendant knew the
transaction involved criminally derived property; (3) the property
had a value greater than $10,000; (4) the property was, in fact,
derived from mail fraud; and (5) the transaction occurred in the
United States.

13. Defendant further understands that for defendant to be
guilty of the crime charged in count two of the information, that
is, Payment of Kickbacks in Connection with a Federal Health Care
Program, in violation of 42 U.S.C. § 1320a-7b(b)(2)(A), the
following must be true: (1) defendant knowingly and wilfully paid
remuneration, directly or indirectly, in cash or in kind, to another
person; (2) the remuneration was given to induce that person to
refer an individual for the furnishing or arranging for the

furnishing of any item or service for which payment may be made in

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whole or in part under a Federal health care program; and (3)
defendant knew that such payment of remuneration was illegal.

PENALTIES AND RESTITUTION

 

14. Defendant understands that the statutory maximum sentence
that the Court can impose for a violation of Title 18, United States
Code, Section 371, is: 5 years imprisonment; a 3-year period of
supervised release; a fine of $250,000 or twice the gross gain or
gross loss resulting from the offense, whichever is greatest; and a
mandatory special assessment of $100.

15. Defendant understands that the statutory maximum sentence
that the Court can impose for a violation of Title 42, United States
Code, Section 1320a-7b(b)(2)(A), is: 5 years imprisonment; a 3-year
period of supervised release; a fine of $250,000 or twice the gross
gain or gross loss resulting from the offense, whichever is
greatest; and a mandatory special assessment of $lOO.

16. Defendant therefore understands that the total maximum
sentence for all offenses to which defendant is pleading guilty is:
10 years imprisonment; a three-year period of supervised release; a
fine of $500,000 or twice the gross gain or gross loss resulting
from the offense, whichever is greatest; and a mandatory special
assessment of $200.

17. Defendant understands that supervised release is a period
of time following imprisonment during which defendant will be
subject to various restrictions and requirements. Defendant
understands that if defendant violates one or more of the conditions
of any supervised release imposed, defendant may be returned to
prison for all or part of the term of supervised release authorized

by statute for the offenses that resulted in the term of supervised

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release, which could result in defendant serving a total term of
imprisonment greater than the statutory maximum stated above.

18. Defendant understands that, by pleading guilty, defendant
may be giving up valuable government benefits and valuable civic
rights, such as the right to vote, the right to possess a firearm,
the right to hold office, and the right to serve on a jury,
Defendant understands that once the court accepts defendant's guilty
pleas, it will be a federal felony for defendant to possess a
firearm or ammunition. Defendant understands that the convictions
in this case may also subject defendant to various other collateral
consequences, including but not limited to revocation of probation,
parole, or supervised release in another case and suspension or
revocation of a professional license. Defendant understands that
unanticipated collateral consequences will not serve as grounds to
withdraw defendant's guilty pleas,

19. Defendant understands that, if defendant is not a United
States citizen, the felony convictions in this case may subject
defendant to: removal, also known as deportation, which may, under
some circumstances, be mandatory; denial of citizenship; and denial
of admission to the United States in the future. The court cannot,
and defendant's attorney also may not be able to, advise defendant
fully regarding the immigration consequences of the felony
convictions in this case. Defendant understands that unexpected
immigration consequences will not serve as grounds to withdraw
defendant's guilty pleas,

20. Defendant understands that defendant will be required to
pay full restitution to the victims of the offenses to which

defendant is pleading guilty. Defendant agrees that, in return for

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the USAO's compliance with its obligations under this agreement, the
Court may order restitution to persons other than the victims of the
offenses to which defendant is pleading guilty and in amounts
greater than those alleged in the counts to which defendant is
pleading guilty. In particular, defendant agrees that the Court may
order restitution to any victim of any of the following for any
losses suffered by that victim as a result: (a) any relevant
conduct, as defined in U.S.S.G. § 1B1.3, in connection with the
offenses to which defendant is pleading guilty; and (b) any charges
not prosecuted pursuant to this agreement as well as all relevant
conduct, as defined in U.S.S.G. § 1B1.3, in connection with those
counts and charges. The parties have not come to an agreement on
the amount of restitution.

FACTUAL BASIS

21. Defendant admits that defendant is, in fact, guilty of the
offenses to which defendant is agreeing to plead guilty. Defendant
and the USAO agree to the statement of facts provided below and
agree that this statement of facts is sufficient to support pleas of
guilty to the charges described in this agreement and to establish
the Sentencing Guidelines factors set forth in paragraph 23 below
but is not meant to be a complete recitation of all facts relevant
to the underlying criminal conduct or all facts known to either
party that relate to that conduct,

Pacific Hospital of Long Beach (“Pacific Hospital”) was a
hospital located in Long Beach, California, specializing in
surgeries, particularly spinal and orthopedic surgeries. From at
least in or around 1997 to October 2013, Pacific Hospital was owned

and/or operated by defendant.

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Beginning in or around 1998 and continuing through in or around
November 2013, defendant conspired with dozens of doctors,
chiropractors, marketers, and others to pay kickbacks in return for
those persons to refer thousands of patients to Pacific Hospital for
spinal surgeries and other medical services paid for primarily
through the Federal Employees' Compensation Act (“FECA”) and the
California Workers' Compensation System (“CWCS”). To help generate
the monies for the kickback payments, defendant used a co-schemers
company or his own company International Implants (“12”), located in
Newport Beach, California, to fraudulently inflate the price of
medical hardware purchased by Pacific Hospital to be used in the
spinal surgeries; defendant knew that, under California law, medical
hardware was considered a “pass-through” cost that could be billed
at no more than $250 over what Pacific Hospital paid for the
hardware. In paying the kickbacks, inflating the medical hardware
costs, and submitting the resulting claims for spinal surgeries and
medical services, defendant and his co-conspirators acted with the
intent to defraud workers' compensation insurance carriers and to
deprive the patients of their right of honest services.

Defendant also provided a stream of financial benefits to
California State Senator Ronald S. Calderon (“Senator Calderon”) in
order to influence him to support, and in exchange for supporting,
defendant's positions on legislation and regulations that would
enhance defendant's ability to commit and expand his health care
fraud scheme -- in particular, legislation concerning hospitals'
ability to “pass through” to workers' compensation insurance

carriers the cost of medical hardware used in spinal surgeries.

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The hospital kickback scheme operated as follows: defendant
and other co-conspirators offered to pay kickbacks to doctors,
chiropractors, marketers, and others (the “kickback recipients”) in
return for their referring workers' compensation patients to Pacific
Hospital for spinal surgeries, other types of surgeries, magnetic
resonance imaging, toxicology, durable medical equipment, and other
services, to be paid through FECA and the CWCS. For spinal
surgeries, typically, defendant offered to pay a kickback of $15,000
per lumbar fusion surgery and $10,000 per cervical fusion surgery
provided that the surgeon used in the surgery hardware supplied by a
specified distributor. Beginning in approximately 2008, defendant's
company 12 typically was the specified distributor; if the surgeon
did not use IZ's hardware in the surgery, the kickbacks offered were
smaller.

Influenced by the promise of kickbacks, the kickback recipients
referred patients insured through the CWCS and the FECA to Pacific
Hospital for spinal surgeries, other types of surgeries, and other
medical services. In some cases, the patients lived dozens or
hundreds of miles from Pacific Hospital, and closer to other
qualified medical facilities. The workers' compensation patients
were not informed that the medical professionals had been offered
kickbacks to induce them to refer the surgeries to Pacific Hospital.

Pursuant to the kickback agreements, the kickback recipients
referred patients to Pacific Hospital. In the case of spinal
surgeries, as part of the kickback agreements, surgeons often used
the specified distributor, including 12. Typically, for surgeries
covered by the CWCS, the price 12 or the co-conspirator distributor

charged for the hardware was inflated by a multiple of the price at

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which 12 or the other distributor had purchased the device from the
manufacturer.

Pacific Hospital submitted claims, by mail and electronically,
to workers' compensation insurance carriers for payment of the costs
of the surgeries and other medical services. For a spinal surgery,
Pacific Hospital typically submitted a claim for the hospital's
services and the medical hardware used in the surgery. For
surgeries covered by the CWCS, Pacific Hospital submitted the
inflated invoice for the hardware from 12 or other specified
distributors who were co-conspirators, plus an additional $250.
Thus, the purported “pass-through” cost submitted in the claims for
medical hardware was thousands of dollars -- and sometimes tens of
thousands of dollars -- higher than what the manufacturer actually
charged and what 12 or the co-conspirator distributor actually paid
for the hardware.

As defendant and his co-conspirators knew, federal and
California law prohibited paying or receiving the aforementioned
kickbacks for the referral of patients for medical services.
Defendant and his co-conspirators also knew that the insurance
carriers would be unwilling to pay claims for medical services that
were obtained through such illegal kickbacks. Moreover, defendant
and his co-conspirators knew that the insurance carriers would be
unwilling to pay claims for spinal surgery hardware that were
artificially inflated and substantially above the manufacturer’s
price. However, defendant and his co-conspirators deliberately did
not disclose to the insurance carriers the kickbacks, the inflation
of the medical hardware, or the fact that 12 was owned and

controlled by defendant and was not a manufacturer of such hardware.

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Rather, at some point, defendant and his co-conspirators included on
12's invoices stamps falsely stating that 12 was an “FDA Registered
Manufacturer.”

Further, to conceal the illegal kickback payments from the
workers' compensation insurance carriers and patients, defendant and
his co-conspirators entered into bogus contracts under which the
kickback recipients purported to provide services to defendant's
companies to justify the kickback payments. The services and other
items of value discussed in those contracts were, in fact, generally
not provided to Pacific Hospital or were provided at highly inflated
prices. The compensation to the kickback recipients was actually
based on the number and type of surgeries they referred to the
hospital. These contracts included, among others, the following:
collection agreements, option agreements, research and development
agreements, lease and rental agreements, consulting agreements,
marketing agreements, and management agreements.

Defendant and his co-conspirators kept records of the number of
surgeries and other medical services performed at Pacific Hospital
due to referrals from the kickback recipients, as well as amounts
paid to the kickback recipients for those referrals. Periodically,
defendant and others amended the bogus contracts with the kickback
recipients to increase or decrease the amount of agreed compensation
described in the contracts, in order to match the amount of
kickbacks paid or promised in return for referrals.

From in or around 2008 to in or around April 2013, Pacific
Hospital billed workers' compensation insurance carriers
approximately $500 million in claims for several thousand spinal

surgeries that were the result of the payment of kickbacks; and

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defendant and other co-conspirators paid kickback recipients between
approximately $20 million and $50 million in kickbacks relating to
those claims,

To preserve his ability to pass on the inflated spinal surgery
hardware costs to the insurance carriers, and thus to help to pay
the kickbacks, defendant provided a stream of financial benefits to
Senator Calderon in order to induce the senator to oppose
legislation and regulation that would have eliminated the “pass-
through” rule, as well as to support legislation that would have
supported defendant's health care fraud scheme. For example, at
Senator Calderon's request, defendant agreed to pay Senator
Calderon's son $10,000 per summer (take-home or net) to work as a
summer file clerk for defendant's company in 2010, 2011, and 2012.
Defendant would not have ordinarily done this, but did so here in
order to ensure that Senator Calderon would take positions on spinal
surgery and pass-through legislation favorable to defendant. In
2010, at Senator Calderon's request, defendant caused his company to
pay Senator Calderon's son $10,000 upfront to be a summer file
clerk. 1n 2011, again at Senator Calderon's request, defendant
caused his company to pay Senator Calderon's son $10,000 to be a
summer file clerk. In 2012, defendant made Senator Calderon's son a
W-2 employee, which caused taxes to be withheld from his paycheck.
When Senator Calderon informed defendant that his son needed to net
$10,000 in the summer, defendant caused his company, despite that it
was in financial difficulty and laying off workers, to pay Senator
Calderon's son an increased amount of up to near $18,000 so that
Senator Calderon's son would net $10,000 for the summer of 2012.

Defendant ensured that his company made these payments to Senator

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Calderon's son each summer regardless of how few days Senator
Calderon's son actually worked.

In addition, on several occasions and while Senator Calderon
was supporting legislative positions favorable to defendant,
defendant took Senator Calderon to exclusive, high-end golf resorts.
Defendant paid for these golf outings in order to ensure Senator
Calderon's continued legislative support, Additionally, defendant
took Senator Calderon out to expensive dinners and provided him with
free flights on a private plane. All of these financial benefits
were intended to ensure that Senator Calderon would take legislative
positions favorable to defendant and Pacific Hospital, which would
allow defendant to continue to commit and expand his health care
fraud scheme. In response to these financial benefits from
defendant, Senator Calderon, among other things, arranged meetings
for defendant with other senators to discuss defendant's legislative
agenda and advocated positions on legislation that would financially
benefit defendant and Pacific Hospital.

1n furtherance of the conspiracy and to accomplish the objects
of the conspiracy, defendant and other co-conspirators committed
various overt acts within the Central District of California,
including but not limited to the following:

Overt Act No. 1

On or about November 10, 2009, defendant caused a check in the
amount of $43,650.00 from SCIF to be sent by mail to Pacific
Hospital in reimbursement for a claim for spine surgery on patient
J.M. performed by doctor C.D., which claim was induced by the

payment of a kickback to J.C.
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Overt Act No. 2

1n or around February 2010, defendant met with
Senator Calderon in Sacramento, California and agreed to hire
Senator Calderon's son each summer for the next several summers and
to pay him $10,000 per summer, so that Senator Calderon would have
enough money to pay for his son's college tuition.

Overt ACt NO. 3

On or about April 14, 2010, defendant caused a check in the
amount of $90,467.80 from SCIF to be sent by mail to Pacific
Hospital in reimbursement for a claim for spine surgery on patient
L.T. performed by doctor M.C., which claim was induced by the
payment of a kickback to P.S.

Overt Act No. 4

1n or around April 2010, defendant had Senator Calderon meet
with a Director at the Division of Workers' Compensation and discuss
the negative impact that proposed regulations would have on Pacific
Hospital and other hospitals.

Overt ACt NO. 5

On or about July 13, 2010, defendant caused Senator Calderon's
son to be paid $10,000 in advance of clerical work Senator
Calderon's son was to perform at one of defendant's companies.

Overt Act No. 6

1n or around February 2011, defendant had Senator Calderon meet
with Senator A and request that Senator A introduce legislation in
the California Senate that would be favorable to defendant.

Overt Act No. 7

On or about March 31, 2011, defendant caused a check in the

amount of $23,531.23 from Vanliner to be sent by mail to Pacific

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Hospital in reimbursement for a claim for spine surgery on patient
R.S. performed by doctor S.O., which claim was induced by the
payment of a kickback to S.O.

Overt Act No. 8

On or about July 11, 2011, defendant caused Senator Calderon's
son to be paid $5,000 for clerical work Senator Calderon's son had
performed at one of defendant's companies.

Overt Act No. 9

On or about August 16, 2011, defendant caused Senator
Calderon's son to be paid $5,000 for clerical work Senator
Calderon's son had performed at one of defendant's companies.

Overt Act No. 10

On or about June 12, 2012, defendant had Senator Calderon
arrange and participate in a meeting with Senator B, where Senator
Calderon and defendant discussed the negative impact Senator B's
proposed legislation would have on Pacific Hospital and other
hospitals.

Overt Act No. 11

On or about June 29, 2012, defendant caused a kickback in the
amount of $100,000 to be paid to S.O. for the referral of lumbar and
cervical spinal surgeries performed at Pacific Hospital, including
on patients covered by the FECA.

Overt Act No. 12

On or about August 1, 2012, defendant authorized Senator
Calderon's son to a gross salary of $18,510.90 for clerical work
Senator Calderon's son was performing at one of defendant's

companies in order to guarantee that Senator Calderon's son's take-

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home (or net) salary totaled approximately $10,000 for the summer of
2012.

Overt Act No. 13

On or about January 18, 2013, defendant caused a check in the
amount of $51,115.44 from Traveler's Insurance to be sent by mail to
Pacific Hospital in reimbursement for a claim for spine surgery on
patient F.C. performed by doctor T.R., which claim was induced by
the payment of a kickback to T.R.

Overt ACt NO. 14

On or about January 24, 2013, defendant caused a check in the
amount of $117,142.36 from Vanliner to be sent by mail to Pacific
Hospital in reimbursement for a claim for spine surgery on patient
S.F. performed by doctor G.A., which claim was induced by the
payment of a kickback to G.A.

Overt ACC NO. 15

On or about April 24, 2013, defendant caused a check in the
amount of $24,209.90 from ICW to be sent by mail to Pacific Hospital
in reimbursement for a claim for spine surgery on patient F.A.
performed by doctor L.T., which claim was induced by the payment of
a kickback to L.T.

Overt Act No. 16

On or about November 27, 2013, defendant caused a check in the
amount of $50,903.76 from Traveler's Insurance to be sent by mail to
Pacific Hospital in reimbursement for a claim for spine surgery on
patient T.V. performed by doctor L.T., which claim resulted from the

payment of a kickback to A.I.

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SENTENCING FACTORS

 

22. Defendant understands that in determining defendant's
sentence the Court is required to calculate the applicable
Sentencing Guidelines range and to consider that range, possible
departures under the Sentencing Guidelines, and the other sentencing
factors set forth in 18 U.S.C. § 3553(a). Defendant understands
that the Sentencing Guidelines are advisory only, that defendant
cannot have any expectation of receiving a sentence within the
calculated Sentencing Guidelines range, and that after considering
the Sentencing Guidelines and the other § 3553(a) factors, the Court
will be free to exercise its discretion to impose any sentence it
finds appropriate up to the maximum set by statute for the crimes of
conviction.

23. Defendant and the USAO agree to the following applicable

Sentencing Guidelines factors:

Base Offense Level: 6 [U.S.S.G. § 2B1.1(a)(2)]

 

Specific Offense

Characteristics

Loss between
$ZOM to $50M: +22 [U.S.S.G. § 2B1.1(b)(1)(L)]

More than 50 victims: +4 [U.S.S.G. § 2B1.1(b)(2)(B)]

Federal health care
offense with gov't

program loss of
between $1M-$7M: +2 [U.S.S.G. § 2B1.1(b)(7)]

Adjustments

Aggravating Role: +4 [U.S.S.G. § 3B1.1(a)]
Acceptance of

Responsibility: -3 [U.S.S.G. § 3E1.1]
Total: 35

 

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The USAO will agree to a two-level downward adjustment for
acceptance of responsibility (and, if applicable, move for an
additional one-level downward adjustment under U.S.S.G. § 3E1.1(b))
only if the conditions set forth in paragraph 6(c)) are met.
Subject to paragraph 7 above and paragraph 35 below, defendant and
the USAO agree not to seek, argue, or suggest in any way, either
orally or in writing, that any other specific offense
characteristics, adjustments, or departures relating to the offense
level be imposed. Defendant agrees, however, that if, after signing
this agreement but prior to sentencing, defendant were to commit an
act, or the USAO were to discover a previously undiscovered act
committed by defendant prior to signing this agreement, which act,
in the judgment of the USAO, constituted obstruction of justice
within the meaning of U.S.S.G. § 3C1.1, the USAO would be free to
seek the enhancement set forth in that section.

24, Defendant understands that there is no agreement as to
defendant's criminal history or criminal history category.

25. Defendant and the USAO reserve the right to argue for a
sentence outside the sentencing range established by the Sentencing
Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),
(a)(2), (a)(3), (a)(6), and (a)(7).

WAIVER OF CONSTITUTIONAL RIGHTS

26. Defendant understands that by pleading guilty, defendant
gives up the following rights;

a) The right to persist in a plea of not guilty.
b) The right to a speedy and public trial by jury,
c) The right to be represented by counsel - and if

necessary have the court appoint counsel - at trial. Defendant

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understands, however, that, defendant retains the right to be
represented by counsel - and if necessary have the court appoint
counsel - at every other stage of the proceeding.

d) The right to be presumed innocent and to have the
burden of proof placed on the government to prove defendant guilty
beyond a reasonable doubt.

e) The right to confront and cross-examine witnesses
against defendant.

f) The right to testify and to present evidence in
opposition to the charges, including the right to compel the
attendance of witnesses to testify,

g) The right not to be compelled to testify, and, if
defendant chose not to testify or present evidence, to have that
choice not be used against defendant.

h) Any and all rights to pursue any affirmative
defenses, Fourth Amendment or Fifth Amendment claims, and other
pretrial motions that have been filed or could be filed.

WAIVER OF APPEAL OF CONVICTION

27. Defendant understands that, with the exception of an
appeal based on a claim that defendant's guilty pleas were
involuntary, by pleading guilty defendant is waiving and giving up
any right to appeal defendant's convictions on the offenses to which
defendant is pleading guilty.

LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

28. Defendant agrees that, provided the Court imposes a total
term of imprisonment on all counts of conviction of no more than the
low end of the Guidelines range corresponding to a total offense

level of 35 and defendant's criminal history category, defendant

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gives up the right to appeal all of the following: (a) the
procedures and calculations used to determine and impose any portion
of the sentence; (b) the term of imprisonment imposed by the Court,
provided it is within the statutory maximum; (c) the fine imposed by
the court, provided it is within the statutory maximum; (d) the
amount and terms of any restitution order, provided it requires
payment of no more than $20,000,000; (e) the term of probation or
supervised release imposed by the Court, provided it is within the
statutory maximum; and (f) any of the following conditions of
probation or supervised release imposed by the Court: the conditions
set forth in General Orders 318, 01-05, and/or 05-02 of this Court;
the drug testing conditions mandated by 18 U.S.C. §§ 3563(a)(5) and
3583(d); and the alcohol and drug use conditions authorized by 18
U.S.C. § 3563(b)(7).

29. The USAO agrees that, provided (a) all portions of the
sentence are at or below the statutory maximum specified above and
(b) the Court imposes a term of imprisonment of no less than the low
end of the Guidelines range corresponding to a total offense level
of 35 and defendant's criminal history category, the USAO gives up
its right to appeal any portion of the sentence, with the exception
that the USAO reserves the right to appeal the following: the amount
of restitution ordered, if that amount is less than $50,000,000.

RESULT OF WITHDRAWAL OF GUILTY PLEA

30. Defendant agrees that if, after entering guilty pleas
pursuant to this agreement, defendant seeks to withdraw and succeeds
in withdrawing defendant's guilty pleas on any basis other than a
claim and finding that entry into this plea agreement was

involuntary, then (a) the USAO will be relieved of all of its

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obligations under this agreement, including in particular its
obligations regarding the use of Cooperation Information; (b) in any
investigation, criminal prosecution, or civil, administrative, or
regulatory action, defendant agrees that any Cooperation Information
and any evidence derived from any Cooperation Information shall be
admissible against defendant, and defendant will not assert, and
hereby waives and gives up, any claim under the United States
Constitution, any statute, or any federal rule, that any Cooperation
Information or any evidence derived from any Cooperation Information
should be suppressed or is inadmissible; and (c) should the USAC
choose to pursue any charge that was not filed as a result of this
agreement, then (i) any applicable statute of limitations will be
tolled between the date of defendant's signing of this agreement and
the filing commencing any such action; and (ii) defendant waives and
gives up all defenses based on the statute of limitations, any claim
of pre-indictment delay, or any speedy trial claim with respect to
any such action, except to the extent that such defenses existed as
of the date of defendant's signing this agreement.
EFFECTIVE DATE OF AGREEMENT

31. This agreement is effective upon signature and execution
of all required certifications by defendant, defendant's counsel,
and an Assistant United States Attorney.

BREACH OF AGREEMENT

32. Defendant agrees that if defendant, at any time after the
signature of this agreement and execution of all required
certifications by defendant, defendant's counsel, and an Assistant
United States Attorney, knowingly violates or fails to perform any

of defendant's obligations under this agreement (“a breach”), the

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USAO may declare this agreement breached. For example, if defendant
knowingly, in an interview, before a grand jury, or at trial,
falsely accuses another person of criminal conduct or falsely
minimizes defendant's own role, or the role of another, in criminal
conduct, defendant will have breached this agreement. All of
defendant's obligations are material, a single breach of this
agreement is sufficient for the USAO to declare a breach, and
defendant shall not be deemed to have cured a breach without the
express agreement of the USAO in writing. 1f the USAO declares this
agreement breached, and the Court finds such a breach to have
occurred, then:

a) If defendant has previously entered guilty pleas
pursuant to this agreement, defendant will not be able to withdraw
the guilty pleas,

b) The USAO will be relieved of all its obligations
under this agreement; in particular, the USAO: (i) will no longer be
bound by any agreements concerning sentencing and will be free to
seek any sentence up to the statutory maximum for the crime to which
defendant has pleaded guilty; (ii) will no longer be bound by any
agreements regarding criminal prosecution, and will be free to
criminally prosecute defendant for any crime, including charges that
the USAO would otherwise have been obligated not to criminally
prosecute pursuant to this agreement; and (iii) will no longer be
bound by any agreement regarding the use of Cooperation Information
and will be free to use any Cooperation Information in any way in
any investigation, criminal prosecution, or civil, administrative,

or regulatory action by the United States.

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c) The USAO will be free to criminally prosecute
defendant for false statement, obstruction of justice, and perjury
based on any knowingly false or misleading statement by defendant.

d) 1n any investigation, criminal prosecution, or civil,
administrative, or regulatory action by the United States:

(i) defendant will not assert, and hereby waives and gives up, any
claim that any Cooperation Information was obtained in violation of
the Fifth Amendment privilege against compelled self-incrimination;
and (ii) defendant agrees that any Cooperation Information and any
Plea Information, as well as any evidence derived from any
Cooperation Information or any Plea Information, shall be admissible
against defendant, and defendant will not assert, and hereby waives
and gives up, any claim under the United States Constitution, any
statute, Rule 410 of the Federal Rules of Evidence, Rule 11(f) of
the Federal Rules of Criminal Procedure, or any other federal rule,
that any Cooperation Information, any Plea Information, or any
evidence derived from any Cooperation Information or any Plea
Information should be suppressed or is inadmissible.

33. Following the Court's finding of a knowing breach of this
agreement by defendant, should the USAO choose to pursue any charge
that was not filed as a result of this agreement, then:

a) Defendant agrees that any applicable statute of
limitations is tolled between the date of defendant's signing of
this agreement and the filing commencing any such action,

b) Defendant waives and gives up all defenses based on
the statute of limitations, any claim of pre-indictment delay, or

any speedy trial claim with respect to any such action, except to

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the extent that such defenses existed as of the date of defendant's
signing this agreement.
COURT AND PROBATION OFFICE NOT PARTIES

34. Defendant understands that the Court and the United States
Probation Office are not parties to this agreement and need not
accept any of the USAO's sentencing recommendations or the parties'
agreements to facts or sentencing factors.

35. Defendant understands that both defendant and the USAO are
free to: (a) supplement the facts by supplying relevant information
to the United States Probation Office and the Court, (b) correct any
and all factual misstatements relating to the Court's Sentencing
Guidelines calculations and determination of sentence, and (c) argue
on appeal and collateral review that the Court's Sentencing
Guidelines calculations and the sentence it chooses to impose are
not error, although each party agrees to maintain its view that the
calculations in paragraph 23 are consistent with the facts of this
case. While this paragraph permits both the USAO and defendant to
submit full and complete factual information to the United States
Probation Office and the Court, even if that factual information may
be viewed as inconsistent with the facts agreed to in this
agreement, this paragraph does not affect defendant's and the USAO's
obligations not to contest the facts agreed to in this agreement.

36. Defendant understands that even if the Court ignores any
sentencing recommendation, finds facts or reaches conclusions
different from those agreed to, and/or imposes any sentence up to
the maximum established by statute, defendant cannot, for that
reason, withdraw defendant's guilty pleas, and defendant will remain

bound to fulfill all defendant's obligations under this agreement.

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1 Defendant understands that no one -- not the prosecutor, defendant's
2 attorney, or the Court -- can make a binding prediction or promise
3 regarding the sentence defendant will receive, except that it will
4 be within the statutory maximum.

5 NO ADDITIONAL AGREEMENTS

6 37. Defendant understands that, except as Set forth herein,
7 there are no promises, understandings, or agreements between the

8 USAO and defendant or defendant's attorney, and that no additional
9 promise, understanding, or agreement may be entered into unless in
10 writing signed by all parties or on the record in court,

11 ?LEA AGREEMENT PART OF THE GUTLTY PLEA HEARING

12 38. The parties agree that this agreement will be considered
13 part of the record of defendant's guilty plea hearing as if the

14 entire agreement had been read into the record of the proceeding.

15 AGREED AND ACCEPTED

16 UNITED STATES ATTORNEY'S OFFICE
FOR THE CENTRAL DISTRICT O CALIFORNIA

  
 
  

ANDRE BIROTTE JR.
18 United States

2/26/14

20 JEANNIE M. Jostl Date

Assistaqt United States Attorney

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h MICHAEL D. DROBOT Date
43 Defendant

 

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Ru1ntnToRD/JANET LEviNE mate
45 Attorneys for Defendant
Michae] D. Drobot

 

 

26 ") ' l - ..r
27 EERREE A. BOWERS ` Date

Attorney for Defendant
28 Michael D. Drobot

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CERTIFICATION OE_DEFENDANI

1 have read this agreement in its entirety. I have had enough
time to review and consider this agreement, and I have carefully and
thoroughly discussed every part of it with my attorneys. I
understand the terms of this agreement, and I voluntarily agree to
those terms. I have discussed the evidence with my attorneys, and
my attorneys have advised me of my rights, of possible pretrial
motions that might be filed, of possible defenses that might be
asserted either prior to or at trial, of the sentencing factors set
forth in 18 U.S.C. § 3553(a), of relevant Sentencing Guidelines
provisions, and of the consequences of entering into this agreement.
No promises, inducements, or representations of any kind have been
made to me other than those contained in this agreement. No one has
threatened or forced me in any way to enter into this agreement. I
am satisfied with the representation of my attorneys in this matter,
and I am pleading guilty because I am guilty of the charges and wish

to take advantage of the promises set forth in this agreement, and

not for any other reason,

5€/;§ ze£ znlL

MICHAEL D. DRoBo`T Date
Defendant

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CERTIFICATION OF DEFENDANT'S ATTORNEY

I am Michael D. Drobot’s attorney. I have carefully and
thoroughly discussed every part of this agreement with my client.
Further, l have fully advised my Client of his rights, of possible
pretrial motions that might be filed, of possible defenses that
might be asserted either prior to or at trial, of the sentencing
factors set forth in 18 U.S.C. § 3553(a), of relevant Sentencing
Guidelines provisions, and of the consequences of entering into this
agreement. To my knowledge: no promises, inducements, or
representations of any kind have been made to my client other than
those contained in this agreement; no one has threatened or forced
my client in any way to enter into this agreement; my client's
decision to enter into this agreement is an informed and voluntary
one; and the factual basis set forth in this agreement is sufficient

to support my client's entry of guilty pleas pursuant to this

agreement.

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\\i _ M.Y/O M)< ;
JEFFR H. RU"ISHERFUR'D+JAN§T LEVINE mate ‘
Attorneys for Defendant

Michael D. Drobot

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CERTIFICATION OF DEFENDANT'S ATTORNEY

I am Michael D. Drobot’s attorney. I have carefully and
thoroughly discussed every part of this agreement with my client.
Further, I have fully advised my client of his rights, of possible
pretrial motions that might be filed, of possible defenses that
might be asserted either prior to or at trial, of the sentencing
factors set forth in 18 U.S.C. § 3553(a), of relevant Sentencing
Guidelines provisions, and of the consequences of entering into this
agreement. To my knowledge: no promises, inducements, or
representations of any kind have been made to my client other than
those contained in this agreement; no one has threatened or forced
my client in any way to enter into this agreement; my client's
decision to enter into this agreement is an informed and voluntary
one; and the factual basis set forth in this agreement is sufficient

to support my client's entry of guilty pleas pursuant to this

 

 

agreement.
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TERREE A. BOWERS Date

Attdrney for Defendant
Michael D. Drobot

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CERTIFICATE OF SERVICE

I am a citizen of the United States and a resident of Orange County,
California. I am over 18 years of age, and I am not a party to the above-
entitled action, My business address is the United States Attorney’s Office,
Ronald Reagan Federal Building and United States Courthouse, 4ll West Fourth
Street, Suite 8000, Santa Ana, California 92701.

That I am employed by the United States Attorney for the Central
District of California, who is a member of the Bar of the United States
District Court for the Central District of California, at whose direction the
service was made. On this date, February 21, 2014, I served a copy of the
foregoing documents, described as follows: PLEA AGREEMENT FOR DEFENDANT
MICHAEL D. DROBOT in the following manner:

E by placing a true copy in a sealed envelope, addressed to the

person specified below, and placing it for interoffice delivery within the

courthouse:
` by placing the document in a sealed envelope, bearing the

requisite postage thereon, and placing it for mailing via the U.S. Postal

Service addressed as follows:

by fax to the person and fax number specified below:

5 by e~mailing a pdf. version of the document to the e-mail
address specified below:

Jeffrey H. Rutherford/Janet Levine
Crowell & Moring LLP

515 South Flower Street, 40ch Floor
Los Angeles, California 90017

Terree A. Bowers

Arent Fox

555 West Fifth Street, 48th Floor
Los Angeles, California 90013

I declare under penalty of perjury that the foregoing is true and

correct, executed on February 21, 2014, at Santa Ana, California.

NA. RBUHUJEZ

 

